                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF LOUISIANA
                              LAKE CHARLES DIVISION


PARISH OF CAMERON                                 :           CIVIL ACTION NO. 2:18-cv-0677


VERSUS                                            :           JUDGE SUMMERHAYS


AUSTER OIL & GAS, INC.; ET AL.                    :           MAGISTRATE JUDGE KAY


                            REPORT AND RECOMMENDATION


       Before the court is a Motion to Remand [doc. 67] filed by plaintiff the Parish of Cameron

(“Cameron,” “the Parish”) and a Motion to Remand [doc. 71] filed by intervenor-plaintiffs the

State of Louisiana ex rel. the Louisiana Attorney General and the Louisiana Department of Natural

Resources (“Louisiana,” “the State”) (hereafter, state and parish parties referred to collectively as

“plaintiffs”). Several defendants have filed an opposition [doc. 97] to the motions, and plaintiffs

have submitted a reply. Doc. 101.

       This matter has been referred to the undersigned for review, report, and recommendation

in accordance with the provisions of 28 U.S.C. § 636. For the reasons stated below, IT IS

RECOMMENDED that the Motions to Remand [docs. 67, 71] be GRANTED and that this matter

be remanded to the 38th Judicial District Court, Cameron Parish, Louisiana.

                                                 I.
                                          BACKGROUND

       This case is one of forty-two lawsuits maintained by Louisiana parishes, along with the

State of Louisiana as intervenor, against various defendants. The plaintiffs allege violations of

permits issued under the State and Local Coastal Resources Management Act of 1978


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(“SLCRMA”), also known as the Coastal Zone Management Act, La. Rev. Stat. § 49:214.21 et

seq., and associated regulations, rules, and ordinances (“CZM laws”) through the defendants’

dredging, drilling, and waste disposal in coastal parishes. See, e.g., doc. 1, att. 59, pp. 3–26. These

cases were previously removed here from the 38th Judicial District Court, Cameron Parish,

Louisiana, and 15th Judicial District Court, Vermilion Parish, Louisiana, on the basis of admiralty

jurisdiction; federal jurisdiction under the Outer Continental Shelf Lands Act (“OCSLA”), 43

U.S.C. § 1349(b)(1); and federal question jurisdiction under 28 U.S.C. § 1331. See Cameron

Parish v. Auster Oil & Gas, Inc., No. 2:16-cv-530 (W.D. La. May 9, 2018), et seq. The court

rejected all asserted bases of removal jurisdiction and remanded the cases to the state court on May

9, 2018. Id. Defendants have now removed the instant case and eleven others to this court once

more, via Notice of Removal filed on May 23, 2018, based on federal officer jurisdiction under 28

U.S.C § 1442 and federal question jurisdiction under 28 U.S.C. § 1331. Doc. 1. They assert that

they first became aware of the newly asserted removal grounds upon receipt of an expert report,

filed on April 30, 2018, which defendants claim reveals for the first time that the plaintiffs’ claims

“primarily attack activities undertaken before the state permitting law at issue was effective” and

thus shows that the alleged permitting violations under state law “were instead subject to extensive

and exclusive federal direction, control, and regulation.” Id. at 3.

       Plaintiffs move to remand, claiming that (1) the claim of federal officer jurisdiction is

without merit; (2) the claim of federal question jurisdiction is both meritless and precluded from

relitigation; and (3) removal was untimely because the expert report was received “months, if not

years, after the removing defendants knew or should have known of the nature of [plaintiffs’]

claims.” Doc. 71, att. 1, pp. 7–8; see also doc. 67, att. 1. Defendants oppose the motions. Doc. 97.




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                                             II.
                                       LAW AND ANALYSIS

   A. Timeliness Standards

       Any civil action brought in a State court of which the district courts have original

jurisdiction may be removed to the proper district court. 28 U.S.C. § 1441(a). The notice of

removal generally must be filed within 30 days of defendant’s receipt of a copy of the initial

pleading, but only if the complaint “reveal[s] on its face” the basis for removal jurisdiction. 28

U.S.C. § 1446(b)(1); Leffall v. Dallas Indep. Sch. Dist., 28 F.3d 521, 525 (5th Cir. 1994); see also

Aaron v. Nat’l Union Fire Ins. Co., 876 F.2d 1157, 1160–61 (5th Cir. 1989) (defendant may only

remove a case from state court when the complaint reveals on its face an issue of federal law).

Otherwise, the case may timely be removed “within 30 days after receipt by the defendant . . . of

a copy of an amended pleading, motion, order or other paper from which it may first be ascertained

that the case is one which is or has become removable.” 28 U.S.C. § 1446(b)(3) (emphasis added);

e.g., Chapman v. Powermatic, Inc., 969 F.2d 160, 161 (5th Cir. 1992). The purpose of § 1446(b)

“is to prescribe a uniform time frame, at the beginning of immediately removable actions, within

which removal will be effected,” with the goal of “early resolution of the court system in which

the case will be heard.” Charles Alan Wright et al., 14C Fed. Prac. and Proc. § 3731 (4th ed.).

“Untimely removal is a defect in removal procedure,” which provides a basis for remand if asserted

by plaintiff. Belser v. St. Paul Fire and Marine Ins. Co., 965 F.2d 5, 8 (5th Cir. 1992).

       The Fifth Circuit rejects a due diligence requirement under § 1446(b), and holds instead

that “the defendant’s subjective knowledge cannot convert a case into a removable action.” Bosky

v. Kroger Texas, LP, 288 F.3d 208, 210 (5th Cir. 2002) (internal quotations omitted). As plaintiffs

point out, the document need not be a “filing” to qualify as other paper. E.g., Brunet v. Butler,


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2012 WL 2338740, at *3 (E.D. La. Jun. 19, 2012). In “very limited” exceptions, a paper filed in

another case may also qualify. Id. If, however, the removal is based on “other paper,” that paper

must still result from a voluntary act by the plaintiff. Addo v. Globe Life and Acc. Ins. Co., 230

F.3d 759, 761–62 (5th Cir. 2000).

        Most cases where removability can first be ascertained from “other paper” involve

clarifying whether diversity jurisdiction exists. Eggert v. Britton, 223 Fed. App’x 394, 397 (5th

Cir. 2007). Federal question jurisdiction, on the other hand, “is determined by reference to the

well-pleaded complaint.” Id. at 397. Under limited circumstances, however, the courts have looked

to “other paper” to establish federal question jurisdiction. Id. To qualify as “other paper” and

trigger removal under § 1446, the document at issue must clarify the nature of a federal claim

rather than revealing “a putative claim which has not been pled.” Id. at 397–98 (quoting Trotter v.

Steadman Motors, Inc., 47 F.Supp.2d 791, 793 (S.D. Miss. 1999). Where the timeliness of removal

based on federal officer jurisdiction is at issue, the court has only specified that § 1442’s “liberal

interpretation” extends to § 1446, “without a thumb on the remand side of the scale.” Morgan v.

Huntington Ingalls, Inc., 879 F.3d 602, 607 & n. 10 (5th Cir. 2018) (quoting Decatur Hosp. Auth.

v. Aetna Health, Inc., 854 F.3d 292, 295 (5th Cir. 2017) and Durham v. Lockheed Martin Corp.,

445 F.3d 1247, 1253 (9th Cir. 2006)). Where there is no new information, however, that signals

for the first time the plaintiff’s intent to pursue removable claims, the “other paper” does not trigger

a new removal window under § 1446(b). Decatur Hosp. Auth., 854 F.3d at 296.

    B. Application

        Defendants base their theory of removability on the involvement of pre-SLCRMA

activities in plaintiffs’ claims. As “other paper” revealing this involvement, they rely on the above-

mentioned expert report, filed in a coastal zone case (Plaquemines v. Rozel) in the 25th Judicial



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District Court by plaintiffs and reviewed by Keith Lovell, assistant secretary of the Office of

Coastal Management for the Louisiana Department of Natural Resources. 1 See generally doc. 1,

atts. 1–6; doc. 1, att. 5, p. 22. The defendants maintain that the Rozel expert report qualifies as

“other paper” under § 1446(b)(3) because it “alleges previously unidentified ‘permitting

violations’ relating to hundreds or even thousands of federal authorized and permitted activities .

. . .” Doc. 1, p. 9. Specifically, they allege that the report reveals for the first time that plaintiffs’

claims “primarily attack activities undertaken before the state permitting law at issue was effective

and that were instead subject to extensive and exclusive federal direction, control, and regulation.”

Id. at 3. They also maintain that the federal nature of the case was previously concealed because

“[t]he petitions do not reference ‘bad faith,’ do not allege violations going back to the 1940s, and

do not reveal that Plaintiffs would challenge as unlawful all federally directed, controlled or

authorized activities in the coastal zone.” Id. at 19. Instead, they insist, “the petitions focused

principally on post-SLCRMA conduct that was purportedly governed by state law.” Id. at 20.

Plaintiffs maintain that defendants were put on notice numerous times, dating back to the filing of

the original complaint, of the involvement of pre-SLCRMA activities in the plaintiffs’ claims. See

doc. 71, att. 3, pp. 1–26 (summary of documents referencing involvement of pre-SLCRMA

activities). Defendants insist, however, that the other filings did not reveal what the Rozel report

did: that plaintiffs were directly challenging federally directed activities under allegations of “bad

faith” and “changed impacts” by the federal actors. Doc. 97, pp. 17–20.




1
  The State of Louisiana is a plaintiff in both the Plaquemines and Cameron cases. See doc. 97, att. 135; see also
Plaquemines cases recently removed to the Eastern District of Louisiana (e.g., Plaquemines v. Exchange Oil & Gas
Corp., No. 2:18-cv-5215 (E.D. La.)). As defendants note, the allegations raised in Plaquemines v. Rozel are virtually
identical to those raised in this case. Compare doc. 97, att. 108 (Cameron petition) with doc. 97, att. 135 (Rozel
petition).

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         Under Louisiana Administrative Code § 43:723(B)(8), Louisiana law provides a “[b]lanket

exemption” under which a use or activity shall not require a coastal use permit if (1) the use or

activity was lawfully commenced or established prior to the implementation of the coastal use

permit process, (2) the secretary determines that it does not have a direct or significant impact on

coastal waters, or (3) the secretary does not determine that a permit is required under § 723.G.

Defendants’ grounds for removal rely on the notion that plaintiffs will argue that defendants’ pre-

SLCRMA are excepted from exemption under the first and second bases above. 2

         The Rozel report provides, in relevant part, opinions that “[c]ertain uses that commenced

before the effective date of the SLCRMA are not exempt from the Coastal Zone Management

program . . . because these activities were not legally commenced or commenced in good faith

prior to the initiation of the SLCRMA” and that certain activities and uses, although initially

exempt, came to require permits under the CZM laws because of “changes in impacts.” Doc. 97,

att. 1, pp. 38–39, 71–73; doc. 97, att. 2, pp. 1–4. It then goes on to detail qualifying activities by

defendants in the Bayou Gentilly case area. Doc. 97, att. 1, pp. 38–83; doc. 97, att. 2, pp. 1–4.

Although, as described more fully below, the SLCRMA only applies prospectively, these

allegations would create an exception allowing for retroactive application of the SLCRMA.

Defendants in this matter argue that the Rozel report is the first time that they have received notice

that the plaintiffs are arguing such exceptions, and that the involvement of federal actors and

federal regulations is necessarily implicated in those allegations. E.g., doc. 1, pp. 17–18.

         Plaintiffs first assert that the involvement of pre-SLCRMA activities was apparent from

the original petition, 3 based on the following allegations:


2
  Because the secretary had evidently already determined that a permit was required under § 723.G, this exception is
not relevant.
3
  This petition was filed on February 4, 2016, and, based on the timely first round of removals to this court, served on
removing defendants in this matter that year.

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                                                            21.

                 The use of waste pits in the Operational Area has a direct and significant
         impact on state coastal waters located within Cameron Parish, and thus each such
         pit required a coastal use permit after the enactment of the CZM Act of 1978. To
         the extent that, contrary to Plaintiffs’ allegations, the use of any such waste pit
         was legally commenced prior to the enactment of the CZM Act of 1978, the
         continued existence of such waste pit following cessation of the operations
         supported by it constituted a new use for which a coastal use permit was
         required. . . .
                                                  ....

                                                            25.

                 Since 1978 and before, Defendants’ oil and gas activities have resulted in
         the dredging of numerous canals in, through, and across the Operational Area. . . .
                                                ....

                                                            29.

                Furthermore, Plaintiffs allege that most, if not all, of the Defendants’
         operations or activities complained of herein were not “lawfully commenced
         or established” prior to the implementation of the coastal zone management
         program. See LAC 43:723(B)(8). The complained-of operations and activities
         were prohibited prior to 1978 by various provisions of the Louisiana Statewide
         Orders 29, 29-A, and 29-B, various field wide orders, as well as various orders
         of the Louisiana Stream Control Commission.

Doc. 97, att. 108, pp. 13–17 (emphasis added). Exhibit F to the original petition provides a list of

oil and gas wells in the Operational Areas purportedly operated by defendants. Id. at 63–73.

Plaintiffs state in their Motion to Remand that many of these wells were drilled and operated back

in the early 1940s. Doc. 71, att. 1, p. 11.

         The involvement of pre-SLCRMA activities was apparent from the allegations above, as

was the assertion of an exception to the pre-SLCRMA exemption.4 Although defendants argue


4
  Under Paragraph 33 of the petition, plaintiffs specifically disclaimed any involvement of federal permits in the
Cameron Parish suits. Doc. 97, att. 108, pp. 18–22. Under that paragraph plaintiffs maintained that they “[had] not
pled, and will never at any time in the future plead, any claim or cause of action arising under federal law or federal
regulations, and assert no such claims herein . . . .” Id. at 18. They also stated that, “[t]o the extent any state law claims
alleged in this petition are preempted by federal law, such claims are not alleged herein.” Id. Given the defendants’
reliance on “colorable federal defenses” in removing under § 1442, however, the plaintiffs’ disclaimers should not
have precluded defendants from discovering this basis at the time the petition was filed. Additionally, under the “artful

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that the state laws cited under Paragraph 29 are inapplicable, this contention has no bearing on the

fact that plaintiffs clearly invoked one of the exceptions in their complaint. Additionally, we reject

any argument that the Rozel report makes the case newly removable by revealing the extent of pre-

SLCRMA activities at issue, to an extent that the complaint did not. The multiple references to

pre-SLCRMA activities and an exception to the blanket exemption were sufficient at the pleading

stage to give notice of the removal bases asserted here, without awaiting further development of

the issue by plaintiffs’ experts. Meanwhile, the Rozel report only defined the scope of pre-

SLCRMA activities at issue for a Plaquemines Parish case – defendants fail to show what

relevance it has to the scope of pre-SLCRMA activities in this suit. The fact that the Rozel report

expands on the first exception and identifies a second one, through its mention of changed

conditions, does not change the fact that potential removability under both § 1442 and § 1331, as

argued in the defendants’ Notice of Removal and Opposition to plaintiffs’ Motion to Remand,

should have been apparent from the petition and its invocation of the not-lawfully-commenced

exception. Removal is therefore untimely, and the case must be remanded regardless of any merit

to the removal grounds asserted.

                                                      III.
                                                   CONCLUSION

         For the reasons stated above, IT IS RECOMMENDED that the Motions to Remand [docs.

67, 71] be GRANTED and that this matter be remanded to the 38th Judicial District Court,

Cameron Parish, Louisiana.



pleading” doctrine the court looks “behind a complaint to determine whether a plaintiff is attempting to conceal the
federal nature of his claim by fraud or obfuscation.” In re Wireless Telephone Radio Frequency Emissions Products
Liability Litig., 327 F.Supp.2d 554, 563–64 (D. Md. 2004). This doctrine prevents a plaintiff from evading federal
question jurisdiction by attempting to disguise a “substantial and disputed federal issue,” as alleged here under § 1331,
contained within a state law claim. Firefighters’ Retirement Sys. v. Regions Bank, 598 F.Supp.2d 785, 791 (M.D. La.
2008). Accordingly, the disclaimers under Paragraph 33 do not prevent the complaint from serving as the defendants’
first notice of removability.

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       Pursuant to 28 U.S.C. § 636(b)(1)(C) and Rule 72(b) of the Federal Rules of Civil

Procedure, the parties have fourteen (14) days from receipt of this Report and Recommendation to

file written objections with the Clerk of Court. Failure to file written objections to the proposed

factual findings and/or the proposed legal conclusions reflected in this Report and

Recommendation within fourteen (14) days of receipt shall bar an aggrieved party from attacking

either the factual findings or the legal conclusions accepted by the District Court, except upon

grounds of plain error. See Douglass v. United Services Automobile Ass’n, 79 F.3d 1415, 1429–30

(5th Cir. 1996).

       THUS DONE AND SIGNED in Chambers this 20th day of November, 2018.




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